     Case: 1:22-cv-04034 Document #: 16 Filed: 09/30/22 Page 1 of 4 PageID #:46


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  NIHRIEN PRGAM                                      )
                                                     )   No. 1:22-cv-4034
                     Plaintiff,                      )
                                                     )   Hon. Sharon Johnson Coleman
                         v.                          )   District Court Judge
                                                     )
  ROUNDY’S ILLINOIS, LLC D/B/A                       )
  MARIANO’S                                          )   JURY DEMAND
                                                     )
                    Defendant.                       )
                                                     )

           PLAINTIFF’S MOTION TO STAY BRIEFING SCHEDULE
      ON DEFENDANT’S MOTION TO DISMISS, PENDING RULING BY THE
     HONORABLE VIRGINIA M. KENDALL ON MOTION TO CONSOLIDATE
 THIS CASE WITH CUNNINGHAM V. ROUNDY’S ILLINOIS, LLC, CASE 21-CV-05368

       NOW COMES Plaintiff, and in support of this Motion to Stay Briefing Schedule on

Defendant’s Motion to Dismiss, Pending Ruling by the Honorable Virginia M. Kendall on

Motion To Consolidate This Case With Cunningham v. Roundy’s, LLC., Case 21-05368, states

as follows:

   1. On July 6, 2022, pursuant to Fed. R. Civ. P. 20, in the case of Cunningham v. Roundy’s,

LLC., Case 21-05368, the Honorable Virginia M. Kendall issued a ruling severing from that case

23 Plaintiff claims which had filed together in that Fair Labor Standards Act (FLSA) action. See

Cunningham, Dkt #29.

   2. The filing of this case was a result of that ruling. Thirteen other claims severed from

Cunningham were also refiled in this district, and were assigned to 11 different judges. As a result,

15 different cases against Roundy’s by 15 current and former employees, all working in the same

designated position in the same corporate grocery store chain model, now have overtime claims

pending throughout the Northern District.




                                                 1
       Case: 1:22-cv-04034 Document #: 16 Filed: 09/30/22 Page 2 of 4 PageID #:47


   3. As its responsive pleading to all 15 claims, Defendant Roundy’s has moved to dismiss the

claims based upon an identical legal theory as well as an identical set of facts. In this case, see Dkt.

#12.

   4. By order of this Court (Dkt. #15), a briefing schedule has been set requiring Plaintiff’s

response to be filed on or before October 20, 2022.

   5. On September 29, 2022, Plaintiff Cunningham filed before Judge Kendall his Motion For

Leave to File Brief in Support in Excess of 15-Page Limitation regarding his Motion for

reassignment and consolidation of this case (and the 12 refiled cases) under the provisions of

F.R.C.P. 42(a) and Local Rule 40.4. See Cunningham Dkt #40. Upon Judge Kendall’s ruling on

that Motion to File in Excess, Plaintiff Cunningham will file either his 20-page brief in support or

a trimmed-down 15-page version of the same. In the abundance of caution, should Judge

Kendall’s ruling on Cunningham’s motion for leave to file in excess not be issued prior to the

deadline set by this Court for Plaintiff’s response to Roundy’s dismissal motion, Plaintiff reasoned

this Motion to Stay should be filed now pending action by Judge Kendall.

   6. The very essence of Plaintiff’s Motion To Consolidate before Judge Kendall is that

Roundy’s 15 motions to dismiss, filed before 11 different judges in this district, are all premised

upon virtually identical issues of law and fact. And, ultimately (assuming survival on those

motions to dismiss), issues of law on the underlying administrative exemption claimed by

Roundy’s are identical, and the facts to be considered in all 15 cases relative to that claimed

exemption are substantially similar. Plaintiff Cunningham asserts in his motion for consolidation

before Judge Kendall that the 15 cases are prime and proper candidates for reassignment before

Her Honor, so as to achieve consistent outcomes in the




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     Case: 1:22-cv-04034 Document #: 16 Filed: 09/30/22 Page 3 of 4 PageID #:48


application of identical law and identical facts on the dismissal issue, and consistent outcomes in

the application of identical law and largely similar facts on underlying affirmative defenses. The

law in this district soundly supports consolidation and reassignment.

   7. Given the strength of the consolidation motion pending before Judge Kendall in

Cunningham, Plaintiff herein asserts that the briefing schedule on Roundy’s Motion to dismiss in

this case should be stayed for a short period of time pending Judge Kendall’s decision on the

consolidation and reassignment issue. Proceeding on the briefing of Roundy’s dismissal motion

here, prior to Judge Kendall’s ruling on the consolidation and reassignment motion, would frustrate

the very purpose of Rules 42(a) and 40.4 in that the resources of the Parties, and most importantly

the valuable resources of the 11 judges in this district, would likely be wasted. The same relief (to

stay the briefing on Roundy’s 15 dismissal motions), has been requested before each of the other

judges involved (Judge Kendall, who received a random assignment of one severed case to go

along with the original Cunningham matter over which she still presides, Judge Guzman (two (2)

cases), Judge Feinerman, Judge Ellis, Judge Alonso, Judge Valderrama, Judge Rowland, Judge

Kness, Judge Norgle, Judge Gottschall, and Judge Shah).

   8. Staying the briefing schedule on Roundy’s Motion to Dismiss herein until such time Judge

Kendall rules upon the consolidation and reassignment motion in Cunningham would be the more

efficient and prudent procedural course, and would be consistent with the purpose and intent of

Rules 42(a) and 40.4.




                                                 3
     Case: 1:22-cv-04034 Document #: 16 Filed: 09/30/22 Page 4 of 4 PageID #:49


   WHEREFORE, Plaintiff requests this Court to enter an Order granting this Motion to Stay

Briefing Schedule on Defendant’s Motion to Dismiss pending Judge Kendall’s consolidation

ruling, and for such other relief the Court deems appropriate under the circumstances.


                                                    Respectfully submitted,

                                                    Electronically Filed 09/30/2022

                                                    /s/ John W. Billhorn
                                                    ___________________________

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